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AO 399 (01/09) Waiver of the Service of Summons



                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                         NorthernDistrict
                                                     __________   Districtofof__________
                                                                               Illinois

        Commodity Futures Trading Commission                                 )
                              Plaintiff                                      )
                                 v.                                          )   Civil Action No. 1:23-cv-01887
                   Changpeng Zhao et al                                      )
                            Defendant                                        )

                                            WAIVER OF THE SERVICE OF SUMMONS

To: Joseph C. Platt
             (Name of the plaintiff’s attorney or unrepresented plaintiff)

       I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

          I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

         I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.

        I also understand that I, or the entity I represent, must file and serve an answer or a motion under Rule 12 within
60 days from                03/29/2023            , the date when this request was sent (or 90 days if it was sent outside the
United States). If I fail to do so, a default judgment will be entered against me or the entity I represent.

Date:          04/26/2023
                                                                                            Signature
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                                                                                                           he attorne
                                                                                                              attorney
                                                                                                                   nneey or unreprese
                                                                                                                            unrepresented party

                       Changpeng Zhao                                                                     Douglas K. Yatter
        Printed name of party waiving service of summons                                                      Printed name
                                                                                                     Latham & Watkins LLP
                                                                                                  1271 Avenue of the Americas
                                                                                                      New York, NY 10020
                                                                                                                 Address

                                                                                                      douglas.yatter@lw.com
                                                                                                             E-mail address

                                                                                                           (212) 906-1200
                                                                                                           Telephone number

                                           Duty to Avoid Unnecessary Expenses of Serving a Summons

          Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons
and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in
the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.

          “Good cause” does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant’s property.

        If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.

           If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
